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                                                                 U.S.1 DISTRICT
                                                                       of 11    COURT
                                                            EASTERN DISTRICT OF ARKANSAS
                                                                                       FILED
                               IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                                                                       APR 2 4 2019

     UNITED STATES OF AMERICA                     )                        JAM
                                                  )
     v.                                           )
                                                  )
     NATHANIEL BURROUGHS                          )


                                            PLEA AGREEMENT

            The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and through

     Michael Gordon, Assistant United States Attorney for said district, and NATHANIEL

     BURROUGHS, the defendant, represented by the undersigned counsel, hereby agree to the following

     terms and conditions in connection with the above referenced proceedings.

            1.      GUILTY PLEA: The defendant will waive indictment and permit the United States

     to proceed by Superseding Information charging the defendant with Conspiracy to Distribute

     Methamphetamine, a violation of Title 18, United States Code, Section 371. The defendant also

     agrees to enter a plea of guilty to the Superseding Information. Upon the Court's acceptance of the

     defendant's plea of guilty in conformity with the terms of this Plea Agreement, the United States will

     move for the dismissal of the remaining charges against the defendant in this Indictment. This plea

     agreement is pursuant to Federal Rule of Criminal Procedure 1 l(c)(l)(A) and 1 l(c)(l)(B) ..

            2.      ELEMENTS OF THE CRIME: The parties agree the elements of the offense to

     which the defendant will plead guilty are:

                    A.    Two or more persons reached an agreement or came to an understanding to
                    commit an offepse, namely Distribution of Methamphetamine;

                    B.       The defendant voluntarily and intentionally joined in the agreement or
                    understanding either at the time it was first reached or at some later time while it was
                    still in effect; and

                    C.     At the time the defendant joined in the agreement or understanding, the ,
                    defendant knew the purpose of the agreement or understanding.

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The defendant agrees that he is guilty of the offense charged and that each of these elements is true.

        3.      PENALTIES:

                A.      STATUTORY PENALTIES: The maximum penalty for the charge set forth

in the Superseding Information is not more than five (5) years imprisonment and/or a fine not to

exceed $250,000; not more than 3 years supervised release; and a $100 special assessment.

                B.      SUPERVISED RELEASE: Supervised release is a period of time following

imprisonment during which defendant will be subject to various restrictions and requirements.

Defendant understands that if defendant violates one or more of the conditions of any supervised

release imposed, the defendant may be returned to prison for all or part of the term of supervised

release, which could result in defendant serving a total term of imprisonment greater than the statutory

maximum stated above.

        4.      WAIVERS:       The defendant acknowledges that he has been advised of and fully

understands the nature of the charges to which the plea is offered, the mandatory minimum penalty

provided by law, if any, and the maximum possible penalty provided by law. The defendant further

understands that by entering into this Agreement and Addendum, he is waiving certain constitutional

rights, including, without limitation, the following:

                A.      The right to appeal or collaterally attack, to the full extent of the law, all non-

jurisdictional issues, including any forfeiture or restitution order, as follows:

                        (1)    the defendant waives the right to appeal all non-jurisdictional issues

including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and any

issues relating to the negotiation, taking or acceptance of the guilty plea or the factual basis for the

plea, including the sentence imposed or any issues that relate to the establishment of the Guideline

range, except that the defendant reserves the right to appeal claims of prosecutorial misconduct and


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the defendant reserves the right to appeal the sentence if the defendant makes a contemporaneous

objection because the sentence imposed is above the Guideline range that is established at sentencing;

                       (2)     the defendant expressly acknowledges and agrees that the United States

reserves its right to appeal the defendant's sentence under Title 18, United States Code, Section

3742(b) and United States v. Booker, 543 U.S. 220 (2005);

                       (3)     the defendant waives all rights to collaterally attack the conviction and

sentence in any post-conviction proceeding, including one pursuant to Title 28, United States Code,

Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

misconduct;

                       (4)     the defendant waives the right to have the sentence modified pursuant

to Title 18, United States Code, Section 3582(c)(2);

                       (5)     the defendant waives the right to appeal the Court's determination of

the amount of restitution and subsequent restitution order, if any; and,

                       (6)     the defendant waives the right to appeal the Court's determination of

any forfeiture issues and subsequent forfeiture order, if any.

               B.      The right to plead not guilty or to persist in that plea if it has already been

made, and the right to a speedy and public trial before a jury;

               C.      The right to be presumed innocent and to have the burden of proof placed on

the United States to establish guilt beyond a reasonable doubt;

               D.      The right to confront and cross examine witnesses;

               E.      The right to testify in his own behalf if the defendant so chooses, or, the right

to remain silent and not be compelled to testify, and to have that choice not used against the defendant;

               F.      The right to call witnesses and to require those witnesses to appear by issuing

subpoenas.

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       5.      STIPULATIONS:             The United States and the defendant stipulate to the following

Sentencing Guidelines issues for presentation of this case to the Court at sentencing:

               A.      The United States agrees not to seek increased punishment against the

Defendant by reason of one or more prior convictions under Title 21, United States Code, Sections

841 (b) and 851, if applicable.

               B.      BASE OFFENSE LEVEL AGREEMENT:                         Pursuant to Sections 2X 1.1

and 2D 1.1 of the Sentencing Guidelines, the base offense level is determined by the quantity of drugs.

The parties agree and stipulate that the quantity of drugs actually involved in the offense is at least 10

grams but less than 20 grams ofmethamphetamine. Thus, the base offense level is 16.

               C.      CHAPTER THREE ADJUSTMENTS:

                       1.         The parties agree and stipulate that no party will seek an increase or

decrease in the offense level for "role" under Sections 3B 1.1 and 3B 1.2 of the Sentencing Guidelines.

                       2.         The parties agree and stipulate that, pursuant to Section 3E 1.1 of the

Sentencing Guidelines, the defendant is eligible for a two (2) level decrease for acceptance of

responsibility, unless the defendant takes any action between the entry of the guilty plea and the

imposition of sentence that is inconsistent with acceptance of responsibility. If the offense level is 16

or greater, the determination of whether the defendant is eligible for a third level reduction for

acceptance of responsibility will be made by the United States at the time of sentencing.

               D.      The parties agree that no party will seek any additional offense level increases

or decreases under Section 2D 1.1 or Chapter 3 of the Sentencing Guidelines except for those

specifically identified in this Plea Agreement.

               E.      APPLICABILITY OF THE "CAREER OFFENDER" PROVISIONS:

       If the defendant meets the requirements of Section 4B 1.1 of the Sentencing Guidelines, then



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the parties agree that nothing in this Plea Agreement shall prevent the defendant's offense level and

criminal history category from being calculated and applied accotding to that Section.

                F.     The parties understand that the Court is not bound by these stipulations. The

Defendant further understands that if the Court does not accept the stipulations, the Defendant is not

entitled to withdraw the guilty plea or otherwise be released from Defendant's obligations under this

Agreement and Addendum.

        6.      SENTENCING GUIDELINES: It is specifically understood by the defendant that

the Sentencing Guidelines are not mandatory but are advisory, and that the Court is to consult them

in determining the appropriate sentence. The defendant understands that the determination of the

applicability of the Guidelines and of the appropriate sentence will be made by the Court. The

defendant is aware that any estimate of the probable sentencing range under the Sentencing

Guidelines that the defendant may have received from the defendant's counsel, the United States, or

the Probation Office, is merely a prediction, not a promise, and is not binding on the United States,

the Probation Office, or the Court. The United States makes no promise or representation concerning

what sentence the defendant will receive and the defendant cannot withdraw a guilty plea, or

otherwise avoid the defendant's obligations under this Agreement and Addendum, based upon the

actual sentence imposed by the Court. The parties understand and agree that if the guideline range is

greater or less than the defendant or the United States expected it to be, and/or the sentence imposed

by the Court is greater or lesser than anticipated, neither the defendant nor the United States will be

allowed to withdraw, nor request withdrawal of, the guilty plea, nor be excused from any obligation

under this Agreement and Addendum.

       7.      ALLOCUTION: The United States reserves the right to bring any and all facts which

it believes are appropriate to the attention of the Court.



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       8.      COOPERATION IN THE SENTENCING PROCESS:

               A.      The defendant agrees to truthfully provide all information to the Probation

Office as is needed for preparation of the pre-sentence report, including, but not limited to, criminal

history information.     The defendant shall voluntarily provide a complete and truthful written
                                         \-
accounting of the defendant's criminal ,history to the Probation Office.

               B.      The defendant agrees to execute all waivers necessary for the preparation of

the pre-sentence report.

               C.      The defendant understands and acknowledges that the defendant's obligation

of disclosure regarding criminal history is not limited to arrests and convictions reported in computer

databases, but requires the defendant to disclose all arrests and/or convictions, including any juvenile

matters, regardless of whether the defendant believes the arrest/conviction counts under the

Sentencing Guidelines.

               D.      The defendant is required to comply with these obligations no later than the

expiration of the date on which objections to the pre-sentence report are due.

       9.      FINANCIAL MATTERS:

               A.      FINANCIAL STATEMENT: The defendant agrees to fully and truthfully

complete a Financial Statement provided by the United States Probation Office.

               8.      FINES: The defendant understands that unless the Court determines that the

defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the Sentencing

Reform Act of 1984.

               C.      SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the

United States a special assessment of $100.00 per count, as required by Title 18, United States Code,

Section 3013. This special assessment is to be paid by bank cashier's check or money order as directed



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by the Court. Cashier's checks or money orders should be made payable to "Clerk, United States

District Court".

               D.       RESTITUTION: The parties state that restitution is not applicable and that

there are no victims who are due restitution from the Defendant.

        10.    DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United States

Attorney for the Eastern District of Arkansas will bring no further charges against the defendant for

any acts or conduct arising out of the events described in the Indictment, which is the subject of this

action, unless the defendant breaches this Agreement or Addendum.

        11.    RECORDS: The defendant hereby waives all rights, whether asserted directly or by

a representative, to request or receive from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including without limitation any records

that may be sought under the Freedom of Information Act, 5 U.S. C. Section 552, or the Privacy Act

of 1974, 5 U.S. C. Section 552a.

        12.    CIVIL CLAIMS BY THE GOVERNMENT:                         Except to the extent otherwise

expressly specified herein, this Agreement and Addendum does not bar or compromise any civil or

administrative claim pending or that may be made against the defendant, including but not limited to

tax matters.

        13.    EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND

ADDENDUM:

               A.      Defendant acknowledges and understands that if the defendant violates any

term of this Agreement and Addendum, engages in any further criminal activity prior to sentencing,

or fails to appear for any subsequent proceeding including sentencing, the United States shall have,

in addition to all other rights and remedies otherwise available, the right to:

                        (1)    terminate this Agreement and Addendum; or

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                        (2)    proceed with this Agreement and Addendum and

                               (a)     deny any and all benefits to which the defendant would

otherwise be entitled under the terms of this Agreement and Addendum; and/or

                               (b)     advocate for any sentencing enhancement that may be

appropriate.

                 B.     In the event the United States elects to terminate this Agreement and

Addendum, the United States shall be released from any and all obligations hereunder. The defendant

acknowledges and understands that the agreement of the United States to dismiss any charge is

conditioned upon final resolution of this matter. If this Agreement and Addendum is terminated or if

the defendant's conviction ultimately is overturned, then the United States retains the right to reinstate

any and all dismissed charges and to file any and all charges which were not filed because of this

Agreement and Addendum.

                 C.    The defendant hereby knowingly and voluntarily waives any defense based

upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated or

otherwise filed against the defendant as a result of defendant's breach of this Agreement and

Addendum, so long as the United States initiates any otherwise time barred action within one year of

termination or revocation of this Agreement and Addendum.

                 D.    In the event that the Agreement and Addendum is terminated or if the

defendant successfully moves to withdraw his plea, any statement made by the defendant in

negotiation of, or in reliance on this Agreement and Addendum, including any statements made in

the course of a proffer, this Agreement, the stipulations in Paragraph 5 of this Agreement, and the

plea colloquy:

                       (1)     may be used in the United States' case in chief and to cross examine

the defendant if the defendant testifies in any subsequent proceeding; and/or

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                       (2)     any leads derived therefrom may be used by the United States.

The defendant waives any and all rights to the contrary and shall assert no claim under the United

States Constitution, any statute, or any rule of procedure or evidence to the contrary, including Federal

Rule of Evidence 410 and Federal Rule of Criminal Procedure 11 (f). Defendant has been advised of

his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure ll(f)

and waives these rights.

        14.    PARTIES: This Agreement and Addendum is binding only upon the United States

Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind any United

States Attorney outside the Eastern District of Arkansas, nor does it bind any other federal, state or

local prosecuting, administrative, or regulatory authority.

        15.    MISCELLANEOUS:

               A.      MODIFICATION: No term or provision contained herein may be modified,

amended or waived except by express written agreement signed by the party to be bound thereby.

               B.      HEADINGS and CAPTIONS:             Subject headings and captions are included

herein for convenience purposes only and shall not affect the interpretation of this Agreement and

Addendum.

               C.      WAIVER: No waiver of a breach of any term or provision of this Agreement

and Addendum shall operate or be construed as a waiver of any subsequent breach or limit or restrict

any other right or remedy otherwise available. Any waiver must be expressly stated in writing signed

by the party to be bound thereby.

               D.      RIGHTS and REMEDIES CUMULATIVE: The rights and remedies of the

United States expressed herein upon any breach hereunder by the defendant are cumulative and not

exclusive of any rights and remedies otherwise available to the United States in the event of any

breach of this Agreement and Addendum by defendant.

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                    E.      JOINT NEGOTIATION: This Agreement and Addendum has been mutually

    negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall not be

    interpreted against any party by reason of its drafting of this Agreement and Addendum, but instead

    shall be interpreted according to the application of the general rules of interpretation for arms' length

    agreements.

            16.     NO OTHER TERMS: This document and the Addendum completely reflect all

    promises, agreements and conditions made between the parties, constitutes the entire agreement

    between the parties and supersedes any and all prior agreements or understandings between the

    parties, oral or written, with respect to the subject matter hereof.

            17.     APPROVALS AND SIGNATURES:

                    A.     DEFENDANT: The defendant has read this Agreement and Addendum and

    carefully reviewed every part of it with his attorney. The defendant understands and voluntarily

    agrees to the terms and condition of this Agreement and Addendum. Further, the defendant has

    consulted with his attorney and fully understands his rights with respect to the provisions of the United

    States Sentencing Guidelines which may apply to this case. No other promises or inducements have

    been made to the defendant, other than those expressly contained in this Agreement ·and the

    Addendum. In addition, no one has threatened or forced the defendant in any way to enter into this

    Agreement and Addendum. Defendant further acknowledges that defendant has entered into this

    Agreement and Addendum, consciously and deliberately, by defendant's free choice, and without

    duress, undue influence or otherwise being forced or compelled to do so, and this Agreement and

    Addendum constitute the legal, valid and binding obligation of the defendant, fully enforceable

    against defendant in accordance with its terms.          Finally, the defendant is satisfied with the

    representation of his attorney in this case.



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                       B.      DEFENSE COUNSEL:             Defense counsel acknowledges that he is the

        attorney for the defendant, and that he has fully and carefully discussed every part of this Agreement

        and Addendum with the defendant. Further, defense counsel has fully and carefully advised the

        defendant of the defendant's rights, of possible defenses, and of the consequences of entering into

        this Agreement and Addendum, including the possible consequences of not complying with this

        Agreement and Addendum. To counsel's knowledge, the defendant's decision to enter into this

        Agreement and Addendum is an informed and voluntary decision.



               DATED this    2f.;,        of April, 2019.




                                                        By:
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        Defendant



        ~~~
        STEVEN R. DAVIS
        Attorney for Defendant




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